                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      RONALD AND KENYETTA PEGUIES                                          CASE NO.:      18-52616
                                                                           CHAPTER:       13
            DEBTORS.                                                       JUDGE:         TUCKER
_________________________________/

 OBJECTION TO PROOF OF CLAIM OF MICHIGAN DEPARTMENT OF TREASURY #22-1

       Debtors, by and through Counsel, Frego & Associates, The Bankruptcy Law Office, P.L.C.,
hereby objects to the proof of claim filed by Michigan Department of Treasury, and states as follows:

    1. Debtors filed for Bankruptcy protection on or about September 14, 2018.
    2. On or about February 22, 2019, creditor Michigan Department of Treasury filed a Proof of Claim
       (#22-1). (hereafter “Proof of Claim”)

    3. The Proof of Claim states that $7,940.24 is owed to the creditor for “taxes”. There is a
       supplement filed with the Proof of Claim that states that these taxes are owed for the tax year
       2014-2017. Specifically, priority debts total $4,917.37 and general unsecured debts total
       $3,022.87. The supplement further indicates that debtor Kenyetta Peguies owes an “estimated”
       amount for the tax year 2015 because debtor had not filed the return. Debtor, Kenyetta Peguies
       has filed her 2015 State of Michigan tax return and her liability is $1,385.00. (See Exhibit-2015
       ITR)

    4. As a result, the Proof of Claim #22-1 shall be modified to reflect priority income tax debt of
       $4,459.91.

        WHEREFORE, Debtors pray this Honorable Court modify the Proof of Claim #22-1 filed by
Michigan Department of Treasury; further Debtor requests the Court order other such relief the Court
finds just and proper.

Dated: October 15, 2019                       /s/ Jay E. Piggott
                                             Jay E. Piggott (P68091)
                                             Attorney for Debtors
                                             Frego and Associates-The Bankruptcy Law Office, PLC
                                             23843 Joy Road
                                             Dearborn Heights, MI 48127
                                             (313) 724-5088
                                             fregolaw@aol.com




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                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      RONALD AND KENYETTA PEGUIES                                                      CASE NO.:        18-52616
                                                                                       CHAPTER:         13
            DEBTORS.                                                                   JUDGE:           TUCKER
_________________________________/

                                        NOTICE OF OBJECTION TO CLAIM

Debtors have an objection to your claim in this bankruptcy case.

        Your rights may be reduced, modified or denied. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

        If you do not want the court to deny or change your claim, then on or before         November 14, 2019     , you
or your attorney must:

       1.           File with the court a written response to the objection, explaining your position at:1

                    United State Bankruptcy Court
                    211 W. Fort Street, Suite 2100
                    Detroit, MI 48226

        If you mail your response to the court for filing, you must mail it early enough so the court will receive it
on or before the date stated above.
            You must also mail a copy to:
                    Ronald and Kenyetta Peguies         James P. Frego                 Tammy L. Terry
                    11362 Appleton                      23843 Joy Rd                   Chapter 13 Trustee
                    Redford, MI 48239                   Dearborn Heights, MI 48127     535 Griswold, Suite 2100
                                                                                       Detroit, MI 48226

       2.           Attend the hearing on the objection, scheduled to be held on November 21, 2019 , at 9:00 a.m.
                    (or as soon after as counsel can be heard) in Courtroom 1925, United States Bankruptcy
                    Courthouse, 211 W. Fort St., Detroit, Michigan, unless your attendance is excused by mutual
                    agreement between yourself and the objector's attorney.

        If you or your attorney does not take these steps, the Court may deem that you do not oppose the
objection to your claim, in which event the hearing will be canceled, and the objection sustained.

Dated: October 15, 2019                                  /s/ Jay E. Piggott
                                                        Jay E. Piggott (P68091)
                                                        Attorney for Debtors
                                                        Frego and Associates-The Bankruptcy Law Office, PLC
                                                        23843 Joy Road
                                                        Dearborn Heights, MI 48127
                                                        (313) 724-5088
                                                        fregolaw@aol.com

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    Response or answer must comply with F.R.Civ. P. 8(b), (c) and (e).

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                                SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      RONALD AND KENYETTA PEGUIES                                        CASE NO.:     18-52616
                                                                         CHAPTER:      13
            DEBTORS.                                                     JUDGE:        TUCKER
_________________________________/


                   ORDER GRANTING OBJECTION TO PROOF OF CLAIM
                    OF MICHIGAN DEPARTMENT OF TREASURY, #22-1

        This matter having come on for hearing before the Court by way of the objection of the debtor to
the allowance of the claim of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty (30) day notice pursuant to Bankruptcy Rule 3007, a hearing having been held,
the court having heard the matter in open court and for the reasons stated on the record:
       NOW THEREFORE, IT IS HEREBY ORDERED:
        The objection to the Proof of Claim filed by the above-referenced creditor is hereby granted. To
the extent that the Chapter 13 Standing Trustee has previously made disbursements to such creditor, the
Trustee shall not be obligated to recoup same.
       IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]
        1. The Proof of Claim filed by Michigan Department of Treasury (Docket #22-1) is modified such
that the total amount of Unsecured Priority Claims is $4,459.91.



                                           ______________________________________
                                           UNITED STATES BANKRUPTCY JUDGE



                                               Exhibit A

                                       “PROPOSED ORDER”




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